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&lt;p&gt;&lt;font size="+1"&gt;&lt;strong&gt; &lt;center&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/strong&gt;&lt;/font&gt;&lt;/center&gt;


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&lt;strong&gt;&lt;center&gt;NO. 03-&lt;a name="1"&gt;00-775&lt;/a&gt;-&lt;a name="2"&gt;&lt;/a&gt;CV&lt;/center&gt;
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&lt;strong&gt;&lt;center&gt;&lt;a name="4"&gt;In re Alfred D. Pruske, Sr.&lt;/a&gt;&lt;/center&gt;
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&lt;center&gt;ORIGINAL PROCEEDING FROM COMAL COUNTY&lt;/center&gt;
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PER CURIAM&lt;/strong&gt;

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&lt;p&gt;		The Court considered Relator's Motion for Review and Reconsider (sic) or Motion
for Writ of Mandamus as a petition for writ of mandamus.  The petition is denied.  Tex. R. App.
P. 52.8(a).  

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&lt;p&gt;Before Chief Justice Aboussie, Justices Yeakel and Patterson

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&lt;p&gt;Filed:   January 17, 2001

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&lt;p&gt;Do Not Publish

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